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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND


  STEVEN PALANGE
  &. K.P. a minor child                                 C.A. NO. 1: 19-cv-00340-JJM-PAS
           PROSE PLAINTIFFS
  v.
  Margarita E. Palange, Richard Updegrove,
  Sandra Lanni, Tanya Gravel, Lois Iannone,
  Michael B. Forte, Ronald Pagliarini,
  Peter F. Neronha, Jean Maggiacomo,
  Courtney E. Hawkins
  -all in their official and personal capacity as private citizens.
        DEFENDANTS



            PLAINTIFF'S MOTION FOR RECONSIDERATION OF
                 "MOTION FOR INJUNCTIVE RELIEF"

 Now comes the Plaintiff, Steven J. Palangc representing himself and his minor daughter K.P.
                                                                                I

  and humbly requests the court to Reconsider their Denial of his injunction for emergency
 relief.


 The Court misunderstood my Motion for Injunctive Relief to stay or interfere with Rhode
 Island State Court proceedings. I do not seek relief that interferes with any state court
 proceeding.
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     1. I am seeking prospective injunctive relief from impending and ongoing violations of
         Federal laws, including impending and ongoing violations and deprivations of my and
         my daughters Constitutional Rights.


     2. I seek only injunctive relief from this Court to enjoin Michael Forte, the defendants
         and their collaborators from continuing to engage in ongoing practices of violating
         Federal laws and my and K.P's Constitutional Rights. In this matter, my daughter has
         been abducted from me, by fraud and frauds upon the courts that are routinely
        practiced in Rhode Island State courts. Transcripts are fraudulently altered and are not
        reliable for use in any courts, filing, pleadings and appeals are obstructed from
         entering court. I am further bullied and threatened to not speak about things and
        dishonest practices that I observe conceming individuals working under the control of
        Michael Forte.


     3. My defenses, litigation and online speech are obstructed. I am facing imprisonment in
        retaliation for my speech and for filing this lawsuit. I am also threatened with
        substantial amounts of money to be taken from me unlawfully, all by a corrupt and
        dishonest organization managed and controlled by Michael Forte and other
        individuals.


     4. I seek relief under Ex Parte Young that seeks to prevent Mr. Forte and others from
        further altering transcripts, providing dishonest court services, provides dishonest
        private legal services, kidnapping via fraud and physical force, destroying records of
        group and individual misconduct, causing my pleadings and appeals to be obstructed
        from courts and due process, bullying and intimidation in and out of the courn·ooms to
        be silent and to prevent me from being heard and to prevent honest recordings now
        and in the future. And I seek to prevent their unlawful and dishonest practices
        employed in and out of courtrooms from further violating our, myself and K.P. my
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        daughter's Rights. We want the court to prevent the defendants from causing further
        injuries to us.


     5. Under the Supremacy Clause of the United States Constitution the Supreme law oftltis
        land is that the United States Constitution is the Supreme Law of this land.


     6. This Injunction seeks only prospective injunctive relief. Michael Forte is sued in his
        Official capacity. His conduct requires the law to strip any official state status from
        him and allow the suit to continue against him as an individual person without state
        authority or immunity. His conduct of causing individuals and organizations to violate
        laws and rights of myself and K.P clearly violets clearly established Constitutional
        Rights.


     7. This injunction only seeks to require Michael Forte and others to simply refrain from
        further violating the federal laws and Constitutional Rights ofK.P. and myself. The
        law is clearly established that Forte and others cannot engage in practices and pattems
        that violate our fundamental rights to family integrity, due process, and honest court,
        governmental and legal services, honest govemmental records, free speech, access to
        justice and freedom of property free from deprivation without due process and
        dishonesty.. The law already requires the defendants to simply follow the laws. This
        injunction seeks nothing greater or less than just that.


     8. Since at least May 09, 2018 I have witnessed and suffered the loss of my daughter,
        money and enjoyments of life, I am continuously threatened by the defendants and
        others that work on Mr. Forte's de factual behalf and benefit.


     9. I am continuously prevented from presenting my case to court, the public and from
        raising and living with my daughter. We have been separated for over a year now and
        everybody under the influence of Michael Forte engages in and authorizes massive
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         ongoing fi·auds and coverups. The quality of justice I have access to in all Rhode
         Island courts and government amounts to no access to honest court and governmental
         services. It is not possible for Steven Palange and K.P. to be heard by a Rhode Island
         court that is not corrupted with routine and ongoing practices of fraud, theft and
         dishonesty.


     10. My daughter and my Constitutional rights to be together as father and daughter and
         family will continue to be injured and deprived of us by frauds and crimes disguised as
         legitimate governmental activities until this Court prevents the ongoing fi·auds and
         crimes practiced by Mr. Forte and others.


     11. Neither my daughter nor I are allowed to be heard in court and online. My Affidavit
         clearly shows a series of repeating acts and events that continuously violate federal
         laws including but not limited to violations of the Federal Civil Rights civil and
         criminal Statutes. It also shows great and almost ultimate interferences in family
        integrity. There are no facts known or articulated facts in or from the public or courts
         that can justify this and the accompanying dishonest official conduct the facts
        demonstrate that The Rhode Island Courts are prevented from creating truthful records
        and judging our cases fairly and free from corruption


     12. My complaint is not against the State of Rhode Island court or it's proceedings. It's a
        complaint to stop Michael Forte in his official and personal capacity and others from
        ever violating my and our Constitutional Rights to be heard in any court and any other
        court process.


     13. This injunction seeks to enforce and protect, in the future, the Supreme law of the land.
        42 U.S.C. sec. 1983 is an appropriate law to enforce our Constitutional Rights.
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     14. According to Verizon Maryland Incorporated vs. Public Services Commision of
         Maryland The Supreme Court stated" a court need only conduct a straightforward
         inquiry into whether the complaint alleges an ongoing violation of federal law and
         seeks relief properly characterized as prospective".


     15. Our complaint, the Plaintiff and his minor daughter K.P. and other pleadings
         containing important facts and events in this case clearly show ongoing and continuing
         unlawful governmental conduct and violations of our federally protected tights.


     16. The defendants are very aware of their personal and group conduct that violates the
        laws. This case and other complaints made by other individuals clearly show that the
        defendants are aware that their conduct violates the laws and Constitution of the
        United States. And this abuse clearly show that the defendants will continue to violate
        the laws and Federally protected rights ofK.P and Myself.


                                            RELIEF


     1. This Court should at least conduct a preliminary hearing with the defendants
        summoned and heard. My evidence will show the need to enjoin the defendants and
        enforce the laws.
    2. I respectfully move the Court to reconsider the denial of my Injunction and to set a
        date for a hearing for a preliminary restraining Order.
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  Respectfully submitted,




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                         PLAINTIFF HEREBY DEMANDS A TRIAL BY JURY OF ALL
                                                     ISSUES SO TRIABLE.




                                               CERTIFICATI ON OF SERVICE

  I hereby certify that on the 19th day of August, 2019 I emailed a copy of this
  document to Attorney Sean Lyness, Justin J. Sullivan at SLynessCfvria~.ri.~ov,
  jisullivan@riag:.ri.gov, Tamara Rocha at trocha@courts.ri.gov, Stephen M.
  Prignano at smp@mtlesq.com.
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